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                EXHIBIT 2
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                                             12   TWITCH INTERACTIVE, INC.
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                                             13                                  UNITED STATES DISTRICT COURT

                                             14                            NORTHERN DISTRICT OF CALIFORNIA

                                             15   IN RE PERSONALWEB TECHNOLOGIES, LLC,              Case No. 5:18-md-02834-BLF
                                                  ET AL., PATENT LITIGATION
                                             16

                                             17   PERSONALWEB TECHNOLOGIES, LLC and                 Case No. 5:18-cv-05619-BLF
                                                  LEVEL 3 COMMUNICATIONS, LLC,
                                             18                                                     DEFENDANT TWITCH
                                                                   Plaintiffs,                      INTERACTIVE, INC.’S
                                             19                                                     RESPONSES AND OBJECTIONS TO
                                                        v.                                          PERSONALWEB TECHNOLOGIES,
                                             20                                                     INC.’S SECOND SET OF REQUESTS
                                                  TWITCH INTERACTIVE, INC.,                         FOR PRODUCTION (NOS. 35–83)
                                             21
                                                                   Defendant.
                                             22

                                             23   PROPOUNDING PARTY:                  PERSONALWEB TECHNOLOGIES, INC.
                                             24   RESPONDING PARTY:                   TWITCH INTERACTIVE, INC.

                                             25   SET NUMBER:                         TWO (35–83)

                                             26
                                             27

                                             28

                                                  TWITCH’S RESPONSES AND OBJECTIONS TO                             CASE NO. 5:18-md-02834-BLF
                                                  SECOND SET OF REQUESTS FOR PRODUCTION                            CASE NO. 5:18-cv-05619-BLF
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                                              1           Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Twitch Interactive,

                                              2   Inc. (hereafter, “Twitch”), by and through their counsel, hereby responds to Plaintiffs, of

                                              3   PersonalWeb Technologies, LLC (“PersonalWeb”), Second Set of Requests for Production (Nos.

                                              4   35-83) as follows:

                                              5                                       GENERAL OBJECTIONS

                                              6           The following general objections are stated with respect to each and every document request

                                              7   whether or not specifically identified in response thereto. To the extent any of these general

                                              8   objections are not raised in any particular response, Twitch does not waive those objections.

                                              9           1.      Twitch objects to each and every definition and request as overly broad, unduly
                                             10   burdensome, and not proportional to the needs of the case because they are not limited to a specific

                                             11   geographic area. Twitch will only provide discovery with respect to the United States.

                                             12           2.      Twitch objects to the definitions of “You,” “Your,” or “Twitch” because it seeks to
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                                             13   broaden the scope of allowable discovery and seeks information that is not within the possession,

                                             14   custody, or control of Twitch, but is in the possession of third-parties and non-parties to this lawsuit.

                                             15   Twitch further objects to the definition of these terms to the extent it includes Twitch’s attorneys

                                             16   and patent agents and seeks privileged and attorney-work product information. Twitch will interpret

                                             17   these terms as referring to Twitch Interactive, Inc. only.

                                             18           3.      Twitch objects to the definition of “Fingerprint” as vague and ambiguous, overly

                                             19   broad, unduly burdensome, and not proportional to the needs of the case, as it does not identify the
                                             20   item or feature with specificity. Twitch will interpret this term as a Ruby on Rails fingerprint or a

                                             21   similar value that is calculated via a hash algorithm and that renders the name of a file dependent

                                             22   on the contents of the file.

                                             23           4.      Twitch objects to the definition of “Meeting” as overly broad and unduly

                                             24   burdensome, vague and ambiguous, not proportional to the needs of this case, and failing to

                                             25   describe the information sought with reasonable particularity.

                                             26           5.      Twitch objects to the definition of “Document” as overly broad and unduly
                                             27   burdensome, vague and ambiguous, not proportional to the needs of this case, and failing to

                                             28   describe the information sought with reasonable particularity. Twitch will not search for documents

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              1                       CASE NO. 5:18-md-02834-BLF
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                                              1   that are not within its possession, custody, or control.

                                              2          6.      Twitch objects to the definition of “Thing” as overly broad and unduly burdensome,

                                              3   vague and ambiguous, not proportional to the needs of this case, and failing to describe the

                                              4   information sought with reasonable particularity.

                                              5          7.      Twitch objects to the definition of “Cache-Busting” as vague, ambiguous, overly

                                              6   broad, unduly burdensome, and not proportional to the needs of the case as it does not identify the

                                              7   item or feature with specificity, and PersonalWeb does not explain what is meant by “valid”

                                              8   content.

                                              9          8.      Twitch objects to these requests and definitions to the extent that they seek to impose
                                             10   duties beyond those required by the Federal Rules of Civil Procedure and the Local Rules of this

                                             11   district. Twitch’s responses shall be made only in accordance with the applicable rule(s).

                                             12          9.      Twitch objects to these requests to the extent that they seek information equally
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                                             13   available to PersonalWeb in the public domain or that is already in the possession, custody, or

                                             14   control of PersonalWeb.

                                             15          10.     Twitch objects to these requests to the extent that they seek information that is in

                                             16   the possession, custody, or control of parties over whom Twitch has no control.

                                             17          11.     Twitch objects to each and every instruction, definition, and request to the extent

                                             18   that it seeks the disclosure of information protected by the attorney-client privilege, the attorney

                                             19   work-product doctrine, or any other applicable privilege, immunity, or protection, as provided by
                                             20   any applicable law. Twitch does not intend to disclose such privileged or protected information.

                                             21   Twitch’s inadvertent disclosure of any such information should not be deemed a waiver of any

                                             22   privilege, immunity, or protection, and Twitch expressly reserves the right to object to the

                                             23   introduction at trial or to any other use of such information that may be inadvertently disclosed.

                                             24   Twitch objects to discovery of attorney-client privileged communications after the filing of this

                                             25   lawsuit and to discovery of work-product materials generated after the filing of this lawsuit.

                                             26          12.     Twitch objects to these requests to the extent they seek information concerning
                                             27   Amazon CloudFront.        CloudFront is not accused in PersonalWeb’s counterclaim against

                                             28   Amazon.com, Inc. or Amazon Web Services, Inc. (collectively “Amazon”) or in any of the

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              2                     CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   complaints against Amazon’s customers, including Twitch; it is accordingly outside the scope of

                                              2   discovery in this case. Moreover, PersonalWeb does not have standing to bring claims against

                                              3   CloudFront. (See Case No. 5:18-md-02834, Dkt. 413, 453.) To the extent Twitch provides

                                              4   discovery on CloudFront, it does so explicitly without waiver of this objection.

                                              5          13.     Twitch objects to these requests to the extent they seek information concerning

                                              6   Amazon Simple Storage System (S3). PersonalWeb’s infringement claims against Amazon and

                                              7   its customers, including Twitch, are barred by the doctrine of claim preclusion and the Supreme

                                              8   Court’s decision in Kessler v. Eldred, 206 U.S. 285 (1907). (See Order Granting in Part and

                                              9   Denying in Part Amazon’s Motion for Summary Judgment dated March 13, 2019 (“Summary
                                             10   Judgment Order”).) As such, any discovery concerning S3 is outside the scope of discovery in this

                                             11   case. To the extent Twitch provides discovery on S3, it does so explicitly without waiver of this

                                             12   objection.
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                                             13          14.     Twitch objects to these requests to the extent they purport to include email. Email

                                             14   production is not required in patent cases, and any request for email is unduly burdensome and not

                                             15   proportional to the needs of the case. (See, e.g., Court’s [Model] Stipulation & Order Re: Discovery

                                             16   of Electronically Stored Information for Patent Litigation (“General ESI production requests . . .

                                             17   shall not include email or other forms of electronic correspondence.”).)

                                             18          15.     The responses given herein shall not be deemed to waive any claim of privilege or

                                             19   immunity Twitch may have as to any response, document, or thing, or any question or right of
                                             20   objection as to authenticity, competency, relevancy, materiality, admissibility, or any other

                                             21   objection Twitch may have as to a demand for further response to these or other requests, or to any

                                             22   objection to the use of such information, documents, or things in any other proceeding filed after

                                             23   the production of such information or documents.

                                             24          16.     Nothing contained herein may be construed as an admission relative to the existence

                                             25   or non-existence of any document, and no response may be construed as an admission with respect

                                             26   to the relevancy or admissibility in evidence of any statement or characterization contained in these
                                             27   requests or respecting the authenticity, competency, relevancy, materiality, or admissibility of any

                                             28   document or thing referenced by these requests.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             3                      CASE NO. 5:18-md-02834-BLF
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                                              1          17.     Discovery in this matter is ongoing and Twitch reserves the right to revise or

                                              2   supplement any response herein.

                                              3          18.     These General Objections are applicable to and are incorporated in each specific

                                              4   response herein without further reference. The inclusion of specific objection(s) in response to any

                                              5   Requests for Production shall not be construed as a waiver of such objection(s), or any of these

                                              6   objections, in any other response.

                                              7                                    RESPONSES AND OBJECTIONS
                                              8          Subject to the foregoing General Objections, which are incorporated by reference as if set

                                              9   forth fully in each and every response, Twitch also specifically responds and objects to the
                                             10   Document Request as follows:

                                             11   REQUEST FOR PRODUCTION NO. 35:

                                             12          All documents supporting, refuting, or relating to your contention that You do not infringe
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                                             13   any of the patents-in-suit.

                                             14   RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

                                             15          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             16   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             17   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             18   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             19   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             20   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             21   applicable order of the Court.

                                             22          Twitch objects to this request to the extent it seeks information that is subject to any

                                             23   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             24   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             25   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             26   users. Twitch does not intend to provide such information without the consent of the relevant
                                             27   persons or a court order.

                                             28          Twitch objects to the term “You” on the basis identified in the General Objections above

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             4                      CASE NO. 5:18-md-02834-BLF
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                                              1   and incorporates those bases herein. Twitch will interpret “You” as Twitch Interactive, Inc. only.

                                              2          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              3   particular time period and/or geographic area relevant to the case.

                                              4          Twitch objects to this request to the extent it seeks not facts or contentions in this case, but

                                              5   a legal opinion or legal conclusion.

                                              6          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                              7   including but not limited to Requests for Production Nos. 1-4.

                                              8          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              9   and unintelligible in that it seeks “all documents.”
                                             10          Subject to and without waiving any objections, Twitch responds as follows:

                                             11          Twitch will produce non-privileged, non-protected documents on which it will rely at trial

                                             12   to support its non-infringement defense. Twitch further responds that it will produce non-
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                                             13   privileged, non-protected documents sufficient to show the technical design, operation, and

                                             14   functionality of Twitch’s use of content-based ETags to serve assets on Twitch.tv, and how the

                                             15   Twitch.tv website used a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                             16   algorithm and that renders the name of a file dependent on the contents of the file in HTTP requests

                                             17   during the time period of September 14, 2012 to December 25, 2016 for the United States, to the

                                             18   extent such documents exist in Twitch’s possession, custody, or control, can be identified upon a

                                             19   reasonable search, and have not already been produced in response to prior requests.
                                             20          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             21   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             22   appropriate.

                                             23   REQUEST FOR PRODUCTION NO. 36:

                                             24          All documents relating to any comparison between any person’s product or service and the

                                             25   claims or subject matter of the patents-in-suit.

                                             26   RESPONSE TO REQUEST FOR PRODUCTION NO. 36:
                                             27          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             28   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              5                      CASE NO. 5:18-md-02834-BLF
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                                              1   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              2   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              3   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              4   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              5   applicable order of the Court.

                                              6          Twitch objects to this request to the extent it seeks information that is subject to any

                                              7   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              8   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              9   Twitch to disclose private or personally-identifiable information of its employees, customers, or
                                             10   users. Twitch does not intend to provide such information without the consent of the relevant

                                             11   persons or a court order.

                                             12          Twitch objects to this request to the extent it seeks information that is neither relevant to
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                                             13   any claim or defense in this action nor proportional to the needs of the case.

                                             14          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             15   and unintelligible with respect to the phrase “any comparison between any person’s product or

                                             16   service and the claims or subject matter of the patents-in-suit.”

                                             17          Twitch objects to this request as seeking Twitch’s legal contentions. Twitch further objects

                                             18   to this request as prematurely seeking expert testimony before the time called for the Local Rules

                                             19   and the Court’s case schedule.
                                             20          In connection with its Patent L.R. 3-3 invalidity contentions, Twitch has already provided

                                             21   its invalidity contentions comparing prior art to the asserted claims. Twitch will produce any other

                                             22   documents relating to its invalidity case at the time required under the Court’s Local Rules and the

                                             23   case schedule.

                                             24          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             25   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             26   appropriate.
                                             27   REQUEST FOR PRODUCTION NO. 37:

                                             28          All documents constituting or relating to any communication between Twitch and any

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             6                      CASE NO. 5:18-md-02834-BLF
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                                              1   person concerning the scope or construction of the patents-in-suit.

                                              2   RESPONSE TO REQUEST FOR PRODUCTION NO. 37:

                                              3          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              4   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              5   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              6   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              7   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              8   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              9   applicable order of the Court.
                                             10          Twitch objects to this request to the extent it seeks information that is subject to any

                                             11   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             12   to any third party. Twitch further objects to this request to the extent that it purports to require
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                                             13   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             14   users. Twitch does not intend to provide such information without the consent of the relevant

                                             15   persons or a court order.

                                             16          Twitch objects to the term “You” on the basis identified in the General Objections above

                                             17   and incorporates those bases herein. Twitch will interpret “You” as Twitch Interactive, Inc. only.

                                             18          Twitch objects to this interrogatory to the extent it seeks information that is neither relevant

                                             19   to any claim or defense in this action nor proportional to the needs of the case.
                                             20          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             21   and unintelligible in that it seeks “all documents.”

                                             22          Twitch objects to the request for “[a]ny communication” related to the subject matter of the

                                             23   request to the extent it purports to include email. Email production is not required in this case

                                             24   absent specific request.    (See, e.g., Court’s [Model] Stipulation & Order Re: Discovery of

                                             25   Electronically Stored Information for Patent Litigation (“General ESI production requests . . . shall

                                             26   not include email or other forms of electronic correspondence.”).)
                                             27          Twitch objects to this request as seeking Twitch’s legal contentions and conclusions.

                                             28          Twitch objects to this request as seeking protected joint defense communications; Twitch

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             7                       CASE NO. 5:18-md-02834-BLF
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                                              1   will not produce privileged or protected material.

                                              2          Subject to and without waiving any objections, Twitch responds as follows:

                                              3          Twitch will produce non-privileged, non-protected documents relating to the scope or

                                              4   construction of the patents-in-suit, to the extent such documents exist in its possession, custody or

                                              5   control and can be identified upon a reasonable search.

                                              6          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              7   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              8   appropriate.

                                              9   REQUEST FOR PRODUCTION NO. 38:
                                             10          All documents referring to the above-captioned litigation.

                                             11   RESPONSE TO REQUEST FOR PRODUCTION NO. 38:

                                             12          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch
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                                             13   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             14   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             15   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             16   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             17   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             18   applicable order of the Court.

                                             19          Twitch objects to this request to the extent it seeks information that is subject to any
                                             20   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             21   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             22   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             23   users. Twitch does not intend to provide such information without the consent of the relevant

                                             24   persons or a court order.

                                             25          Twitch objects to this request to the extent it seeks information equally available to

                                             26   PersonalWeb in the public domain.
                                             27          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             28   and unintelligible in that it seeks “all documents.”

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             8                      CASE NO. 5:18-md-02834-BLF
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                                              1          Subject to and without waiving any objections, Twitch responds as follows:

                                              2          Twitch will produce non-privileged, non-protected documents related to this litigation, to

                                              3   the extent such documents exist in its possession, custody or control, have not already been

                                              4   produced, and can be located upon a reasonable search.

                                              5          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              6   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              7   appropriate.

                                              8   REQUEST FOR PRODUCTION NO. 39:

                                              9          All documents relating to PersonalWeb.
                                             10   RESPONSE TO REQUEST FOR PRODUCTION NO. 39:

                                             11          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             12   objects to this request to the extent it seeks information protected by the attorney-client privilege,
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                                             13   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             14   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             15   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             16   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             17   applicable order of the Court.

                                             18          Twitch objects to this request to the extent it seeks information that is subject to any

                                             19   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed
                                             20   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             21   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             22   users. Twitch does not intend to provide such information without the consent of the relevant

                                             23   persons or a court order.

                                             24          Twitch objects to this request to the extent it seeks information equally available to

                                             25   PersonalWeb in the public domain.

                                             26          Twitch objects to this request to the extent it seeks information not in Twitch’s possession,
                                             27   custody or control.

                                             28          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             9                      CASE NO. 5:18-md-02834-BLF
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                                              1   and unintelligible in that it seeks “all documents.”

                                              2          Subject to and without waiving any objections, Twitch responds as follows:

                                              3          Twitch will produce non-privileged, non-protected documents in its possession relating to

                                              4   PersonalWeb, to the extent such documents exist in Twitch’s possession, custody, or control, were

                                              5   not already produced in this case by either PersonalWeb or Twitch, and can be identified upon a

                                              6   reasonable search.

                                              7          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              8   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              9   appropriate.
                                             10   REQUEST FOR PRODUCTION NO. 40:

                                             11          All documents created by PersonalWeb in your possession, custody, or control.

                                             12   RESPONSE TO REQUEST FOR PRODUCTION NO. 40:
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                                             13          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             14   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             15   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             16   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             17   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             18   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             19   applicable order of the Court.
                                             20          Twitch objects to this request to the extent it seeks information that is subject to any

                                             21   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             22   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             23   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             24   users. Twitch does not intend to provide such information without the consent of the relevant

                                             25   persons or a court order.

                                             26          Twitch objects to this request to the extent it seeks information equally available to
                                             27   PersonalWeb in the public domain.

                                             28          Twitch objects to this request to the extent it seeks information not in Twitch’s possession,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            10                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   custody or control.

                                              2          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              3   and unintelligible in that it seeks “all documents.”

                                              4          Subject to and without waiving any objections, Twitch responds as follows:

                                              5          Twitch will produce non-privileged, non-protected documents in its possession relating to

                                              6   PersonalWeb, to the extent such documents exist in Twitch’s possession, custody, or control, were

                                              7   not already produced in this case by either PersonalWeb or Twitch and can be identified upon a

                                              8   reasonable search.

                                              9          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,
                                             10   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             11   appropriate.

                                             12   REQUEST FOR PRODUCTION NO. 41:
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13          All documents relating to your relationship with Amazon Web Services, Inc.

                                             14   RESPONSE TO REQUEST FOR PRODUCTION NO. 41:

                                             15          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             16   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             17   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             18   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             19   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             20   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             21   applicable order of the Court.

                                             22          Twitch objects to this request to the extent it seeks information that is subject to any

                                             23   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             24   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             25   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             26   users. Twitch does not intend to provide such information without the consent of the relevant
                                             27   persons or a court order.

                                             28          Twitch objects to this request to the extent it seeks information equally available to

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            11                      CASE NO. 5:18-md-02834-BLF
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                                              1   PersonalWeb in the public domain.

                                              2          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                              3   any claim or defense in this action nor proportional to the needs of the case.

                                              4          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              5   particular time period and/or geographic area relevant to the case.

                                              6          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              7   and unintelligible in that it seeks “all documents.”

                                              8          Twitch objects to this request as it seeks information that is neither relevant to any claim or

                                              9   defense in this action nor proportional to the needs of the case. Twitch’s relationship with Amazon
                                             10   Web Services, Inc., a separate company with its own separate accused products and services, is not

                                             11   relevant to any issue in the case against Twitch.

                                             12   REQUEST FOR PRODUCTION NO. 42:
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13          All documents relating to your relationship with Amazon.com, Inc.

                                             14   RESPONSE TO REQUEST FOR PRODUCTION NO. 42:

                                             15          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             16   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             17   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             18   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             19   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             20   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             21   applicable order of the Court.

                                             22          Twitch objects to this request to the extent it seeks information that is subject to any

                                             23   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             24   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             25   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             26   users. Twitch does not intend to provide such information without the consent of the relevant
                                             27   persons or a court order.

                                             28          Twitch objects to this request to the extent it seeks information equally available to

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO               12                   CASE NO. 5:18-md-02834-BLF
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                                              1   PersonalWeb in the public domain.

                                              2          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                              3   any claim or defense in this action nor proportional to the needs of the case.

                                              4          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              5   and unintelligible in that it seeks “all documents.” Twitch further objects to the undefined term

                                              6   “Amazon.com, Inc.” Twitch will interpret this term as Amazon.com, Inc. only.

                                              7          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              8   particular time period and/or geographic area relevant to the case.

                                              9          Twitch objects to this request as it seeks information that is neither relevant to any claim or
                                             10   defense in this action nor proportional to the needs of the case. Twitch’s relationship with

                                             11   Amazon.com, Inc., a separate company with its own separate accused products and services, is not

                                             12   relevant to any issue in the case against Twitch.
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13   REQUEST FOR PRODUCTION NO. 43:

                                             14          All documents relating to the research, development, testing, financing, and/or marketing

                                             15   of your accused instrumentality or any products and/or service you provide that includes a cache

                                             16   control or cache busting function, including without limitation marketing requirements documents,

                                             17   budgets, business plans, marketing plans, forecasts, financial reports and management reports.

                                             18   RESPONSE TO REQUEST FOR PRODUCTION NO. 43:

                                             19          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch
                                             20   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             21   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             22   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             23   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             24   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             25   applicable order of the Court.

                                             26          Twitch objects to this request to the extent it seeks information that is subject to any
                                             27   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             28   to any third party. Twitch further objects to this request to the extent that it purports to require

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO               13                   CASE NO. 5:18-md-02834-BLF
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                                              1   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              2   users. Twitch does not intend to provide such information without the consent of the relevant

                                              3   persons or a court order.

                                              4           Twitch objects to this request as vague, ambiguous, and exceeding the boundaries of

                                              5   discoverable information. For example, this request seeks documents “relating to the research,

                                              6   development, testing, financing, and/or marketing of your accused instrumentality or any products

                                              7   and/or service.” But it is unclear what “products and/or service” this request is referring to. Twitch

                                              8   objects to the extent this seeks discovery on anything not specifically charted in PersonalWeb’s

                                              9   Infringement Contentions.      Twitch will only respond to requests concerning those accused
                                             10   instrumentalities specifically charted in PersonalWeb’s Infringement Contentions.

                                             11           Twitch objects to the term “your” and “you” on the basis identified in the General

                                             12   Objections above and incorporates those bases herein. Twitch will interpret “you” as Twitch
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13   Interactive, Inc. only.

                                             14           Twitch further objects to the phrase “includes a cache control or cache busting function” as

                                             15   vague, ambiguous and not proportional to the needs of the case, as it does not identify the

                                             16   information sought with particularity.

                                             17           Twitch objects to this request because projected revenues related to the accused

                                             18   instrumentality are not relevant to any issue in the case as the asserted patents have expired.

                                             19           Twitch objects to this request as overbroad and irrelevant because it is not limited to a
                                             20   particular time period and/or geographic area relevant to the case.

                                             21           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             22   and unintelligible in that it seeks “all documents.”

                                             23           Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                             24   including but not limited to Requests for Production Nos. 9, 14, 17-18.

                                             25           Subject to and without waiving any objections, Twitch responds as follows:

                                             26           Twitch will produce non-privileged, non-protected documents sufficient to show the costs
                                             27   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                             28   algorithm and that renders the name of a file dependent on the contents of the file or ETags

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            14                       CASE NO. 5:18-md-02834-BLF
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                                              1   calculated based on contents of a corresponding file during the time period of September 14, 2012

                                              2   to December 25, 2016 for the United States, to the extent such documents exist in Twitch’s

                                              3   possession, custody, or control and can be identified upon a reasonable search, and have not already

                                              4   been produced in response to prior requests.

                                              5          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              6   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              7   appropriate.

                                              8   REQUEST FOR PRODUCTION NO. 44:

                                              9          Any source code created, designed, or written for use with or in your accused
                                             10   instrumentality or any product or service you provide that includes a cache control or cache busting

                                             11   function.

                                             12   RESPONSE TO REQUEST FOR PRODUCTION NO. 44:
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             14   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             15   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             16   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             17   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             18   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             19   applicable order of the Court.
                                             20          Twitch objects to this request to the extent it seeks information that is subject to any

                                             21   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             22   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             23   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             24   users. Twitch does not intend to provide such information without the consent of the relevant

                                             25   persons or a court order.

                                             26          Twitch objects to this request as vague, ambiguous, and exceeding the boundaries of
                                             27   discoverable information because it is unclear what “service” this request is referring to. Twitch

                                             28   objects to the extent this seeks discovery on anything not specifically charted in PersonalWeb’s

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            15                      CASE NO. 5:18-md-02834-BLF
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                                              1   Infringement Contentions.     Twitch will only respond to requests concerning those accused

                                              2   instrumentalities specifically charted in PersonalWeb’s Infringement Contentions.

                                              3           Twitch objects to the term “your” and “you” on the basis identified in the General

                                              4   Objections above and incorporates those bases herein. Twitch will interpret “you” as Twitch

                                              5   Interactive, Inc. only.

                                              6           Twitch further objects to the phrase “includes a cache control or cache busting function” as

                                              7   vague, ambiguous and not proportional to the needs of the case, as it does not identify the

                                              8   information sought with particularity.

                                              9           Twitch objects to this request as overbroad and irrelevant because it is not limited to a
                                             10   particular time period and/or geographic area relevant to the case.

                                             11           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             12   and unintelligible in that it seeks “any source code.”
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                        ATTO RNEY S AT LAW




                                             13           Subject to and without waiving any objections, Twitch responds as follows:

                                             14           Twitch has already made available for inspection, pursuant to the terms of the protective

                                             15   order, source code reflecting the operation of the accused Twitch.tv website in the United States,

                                             16   including the revisions to that code that existed between September 14, 2012 through December

                                             17   25, 2016.

                                             18           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             19   amend, or modify its response to this request as additional facts are learned and as otherwise
                                             20   appropriate.

                                             21   REQUEST FOR PRODUCTION NO. 45:

                                             22           All documents related to the value of your accused instrumentality, including documents

                                             23   regarding the value of any cache control or cache busting feature provided thereby.

                                             24   RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

                                             25           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             26   objects to this request to the extent it seeks information protected by the attorney-client privilege,
                                             27   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             28   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            16                      CASE NO. 5:18-md-02834-BLF
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                                              1   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              2   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              3   applicable order of the Court.

                                              4          Twitch objects to this request to the extent it seeks information that is subject to any

                                              5   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              6   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              7   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              8   users. Twitch does not intend to provide such information without the consent of the relevant

                                              9   persons or a court order.
                                             10          Twitch further objects to the phrase “cache control or cache busting function feature

                                             11   provided thereby” as vague, ambiguous and not proportional to the needs of the case, as it does not

                                             12   identify the information sought with particularity.
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             14   particular time period and/or geographic area relevant to the case.

                                             15          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             16   and unintelligible in that it seeks “all documents.”

                                             17          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                             18   including but not limited to Requests for Production Nos. 9, 14, 17-18.

                                             19          Subject to and without waiving any objections, Twitch responds as follows:
                                             20          Twitch will produce non-privileged, non-protected documents sufficient to show the costs

                                             21   and benefits of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash

                                             22   algorithm and that renders the name of a file dependent on the contents of the file or ETags

                                             23   calculated based on contents of a corresponding file during the time period of September 14, 2012

                                             24   to December 25, 2016 for the United States, to the extent such documents exist in Twitch’s

                                             25   possession, custody, or control and can be identified upon a reasonable search, and have not already

                                             26   been produced in response to prior requests.
                                             27          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             28   amend, or modify its response to this request as additional facts are learned and as otherwise

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            17                       CASE NO. 5:18-md-02834-BLF
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                                              1   appropriate.

                                              2   REQUEST FOR PRODUCTION NO. 46:

                                              3          All documents relating to any non-infringing alternatives or acceptable substitutes for your

                                              4   accused instrumentality in light of the patents-in-suit.

                                              5   RESPONSE TO REQUEST FOR PRODUCTION NO. 46:

                                              6          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              7   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              8   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              9   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
                                             10   to this request to the extent it seeks to impose upon Twitch obligations broader than, different

                                             11   from, or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law,

                                             12   or any applicable order of the Court.
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13          Twitch objects to this request to the extent it seeks information that is subject to any

                                             14   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             15   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             16   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             17   users. Twitch does not intend to provide such information without the consent of the relevant

                                             18   persons or a court order.

                                             19          Twitch objects to this request to the extent it seeks not facts or contentions in this case, but
                                             20   a legal opinion or legal conclusion. Twitch further objects to this request to the extent it suggests

                                             21   that any Twitch technology infringes the patents-in-suit; Twitch does not infringe any valid claim

                                             22   of any claim PersonalWeb asserts in this case. The Twitch accused technology itself is a non-

                                             23   infringing alternative to the claimed inventions in the patent, as is any invalidating prior art

                                             24   asserted by Twitch.

                                             25          Twitch objects to this request as prematurely seeking expert testimony in advance of the

                                             26   deadlines set by the Court’s Local Rules and the case schedule.
                                             27          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             28   particular time period and/or geographic area relevant to the case.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             18                       CASE NO. 5:18-md-02834-BLF
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                                              1          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              2   and unintelligible in that it seeks “all documents.”

                                              3          Subject to and without waiving any objections, Twitch responds as follows:

                                              4          Twitch will produce non-privileged, non-protected documents relating to any non-infring-

                                              5   ing alternatives to the asserted claims of the patents-in-suit at the date provided in the Court’s Local

                                              6   Rules and the case schedule.

                                              7          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              8   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              9   appropriate.
                                             10   REQUEST FOR PRODUCTION NO. 47:

                                             11          All documents supporting, refuting, or relating to your contention that you are entitled to

                                             12   attorneys’ fees under 35 U.S.C. § 285.
F ENWICK & W ES T LLP




                                                  RESPONSE TO REQUEST FOR PRODUCTION NO. 47:
                        ATTO RNEY S AT LAW




                                             13

                                             14          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             15   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             16   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             17   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             18   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             19   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
                                             20   applicable order of the Court.

                                             21          Twitch objects to this request to the extent it seeks information that is subject to any

                                             22   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             23   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             24   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             25   users. Twitch does not intend to provide such information without the consent of the relevant

                                             26   persons or a court order.
                                             27          Twitch objects to this request to the extent it seeks not facts or contentions in this case, but

                                             28   a legal opinion or legal conclusion.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             19                       CASE NO. 5:18-md-02834-BLF
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                                              1          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              2   and unintelligible in that it seeks “all documents.”

                                              3          Twitch objects to this request as premature.

                                              4          Subject to and without waiving any objections, Twitch responds as follows:

                                              5          Twitch will produce any non-privileged, non-protected documents supporting its claim for

                                              6   attorneys’ fees at the time contemplated by the Court’s Local Rules and case schedule, and no later

                                              7   than in connection with its motion for attorneys’ fees under § 285.

                                              8          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              9   amend, or modify its response to this request as additional facts are learned and as otherwise
                                             10   appropriate.

                                             11   REQUEST FOR PRODUCTION NO. 48:

                                             12          All documents that relate to the level of skill in the art relevant to the patents-in-suit.
F ENWICK & W ES T LLP




                                                  RESPONSE TO REQUEST FOR PRODUCTION NO. 48:
                        ATTO RNEY S AT LAW




                                             13

                                             14          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             15   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             16   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             17   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             18   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             19   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
                                             20   applicable order of the Court.

                                             21          Twitch objects to this request to the extent it seeks information that is subject to any

                                             22   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             23   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             24   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             25   users. Twitch does not intend to provide such information without the consent of the relevant

                                             26   persons or a court order.
                                             27          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             28   particular time period and/or geographic area relevant to the case.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             20                       CASE NO. 5:18-md-02834-BLF
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                                              1          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              2   and unintelligible in that it seeks “all documents.”

                                              3          Twitch objects to this request as seeking a legal conclusion.

                                              4          Twitch objects to this request as prematurely seeking expert testimony before the time con-

                                              5   templated by the Court’s Local Rules and case schedule.

                                              6          Subject to and without waiving any objections, Twitch responds as follows:

                                              7          Twitch will provide its expert testimony regarding the appropriate level of skill in the art

                                              8   relevant to the asserted claims of the patents-in-suit at the time, and any documents on which its

                                              9   expert relies for purposes of that testimony, at the time contemplated by the Court’s Local Rules
                                             10   and case schedule.

                                             11          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             12   amend, or modify its response to this request as additional facts are learned and as otherwise
F ENWICK & W ES T LLP
                        ATTO RNEY S AT LAW




                                             13   appropriate.

                                             14   REQUEST FOR PRODUCTION NO. 49:

                                             15          Documents sufficient to show the past and present policy or policies of Twitch, if any,

                                             16   concerning retention, preservation, or destruction of documents.

                                             17   RESPONSE TO REQUEST FOR PRODUCTION NO. 49:

                                             18          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             19   objects to this request to the extent it seeks information protected by the attorney-client privilege,
                                             20   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             21   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             22   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             23   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             24   applicable order of the Court.

                                             25          Twitch objects to this request to the extent it seeks information that is subject to any

                                             26   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed
                                             27   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             28   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            21                      CASE NO. 5:18-md-02834-BLF
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                                              1   users. Twitch does not intend to provide such information without the consent of the relevant

                                              2   persons or a court order.

                                              3          Twitch objects to the terms “policy” and “policies” as vague and ambiguous, overly broad,

                                              4   unduly burdensome, and not proportional to the needs of the case, as they do not identify the items

                                              5   or features with specificity.

                                              6          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              7   particular time period and/or geographic area relevant to the case.

                                              8          Subject to and without waiving any objections, Twitch responds as follows:

                                              9          Twitch will produce non-privileged, non-protected documents sufficient to show its
                                             10   document retention, preservation, and destruction policies during September 14, 2012 through

                                             11   December 25, 2016, to the extent such documents exist in its possession, custody, or control and

                                             12   can be located upon a reasonable search.
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                                             13          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             14   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             15   appropriate.

                                             16   REQUEST FOR PRODUCTION NO. 50:

                                             17          All documents provided to or by any person who will be called to give testimony in this

                                             18   under Rule 701 of the Federal Rules of Evidence.

                                             19   RESPONSE TO REQUEST FOR PRODUCTION NO. 50:
                                             20          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             21   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             22   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             23   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             24   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             25   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             26   applicable order of the Court.
                                             27          Twitch objects to this request to the extent it seeks information that is subject to any

                                             28   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            22                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              2   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              3   users. Twitch does not intend to provide such information without the consent of the relevant

                                              4   persons or a court order.

                                              5          Twitch objects to this request as prematurely seeking Twitch’s expert disclosures.

                                              6          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              7   and unintelligible in that it seeks “all documents.”

                                              8          Subject to and without waiving any objections, Twitch responds as follows:

                                              9   Twitch will produce non-privileged, non-protected documents on which its experts will rely at the
                                             10   time contemplated by the Court’s Local Rules and the case schedule.

                                             11          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             12   amend, or modify its response to this request as additional facts are learned and as otherwise
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                                             13   appropriate.

                                             14   REQUEST FOR PRODUCTION NO. 51:

                                             15          All documents identified in your Rule 26(a)(1) initial disclosures.

                                             16   RESPONSE TO REQUEST FOR PRODUCTION NO. 51:

                                             17          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             18   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             19   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             20   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             21   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             22   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             23   applicable order of the Court.

                                             24          Twitch objects to this request to the extent it seeks information that is subject to any

                                             25   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             26   to any third party. Twitch further objects to this request to the extent that it purports to require
                                             27   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             28   users. Twitch does not intend to provide such information without the consent of the relevant

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            23                      CASE NO. 5:18-md-02834-BLF
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                                              1   persons or a court order.

                                              2           Subject to and without waiving any objections, Twitch responds as follows:

                                              3           Twitch will produce all non-privileged and non-protected documents on which it intends to

                                              4   rely on at trial, including those identified in its initial disclosures, and will identify those documents

                                              5   at the time contemplated by the Court’s Local Rules and case schedule.

                                              6           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              7   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              8   appropriate.

                                              9   REQUEST FOR PRODUCTION NO. 52:
                                             10           All documents identified in your responses, or relied upon in responding, to any of

                                             11   PersonalWeb’s interrogatories.

                                             12   RESPONSE TO REQUEST FOR PRODUCTION NO. 52:
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                                             13           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             14   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             15   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             16   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             17   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             18   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             19   applicable order of the Court.
                                             20           Twitch objects to this request to the extent it seeks information that is subject to any

                                             21   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             22   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             23   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             24   users. Twitch does not intend to provide such information without the consent of the relevant

                                             25   persons or a court order.

                                             26           Subject to and without waiving any objections, Twitch responds as follows:
                                             27           Twitch will produce non-privileged, non-protected documents upon which it relies in

                                             28   responding to PersonalWeb’s interrogatories, to the extent such documents exist in Twitch’s

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              24                       CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                      CASE NO. 5:18-cv-05619-BLF
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                                              1   possession, custody, or control and can be identified upon a reasonable search. Indeed, Twitch has

                                              2   already produced such documents for any interrogatory responses it has served to date.

                                              3          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              4   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              5   appropriate.

                                              6   REQUEST FOR PRODUCTION NO. 53:

                                              7          All documents identified or relied upon or referred to in preparing your responses to any

                                              8   discovery served upon you by PersonalWeb in this litigation.

                                              9   RESPONSE TO REQUEST FOR PRODUCTION NO. 53:
                                             10          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             11   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             12   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
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                                             13   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             14   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             15   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             16   applicable order of the Court.

                                             17          Twitch objects to this request to the extent it seeks information that is subject to any

                                             18   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             19   to any third party. Twitch further objects to this request to the extent that it purports to require
                                             20   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             21   users. Twitch does not intend to provide such information without the consent of the relevant

                                             22   persons or a court order.

                                             23          Subject to and without waiving any objections, Twitch responds as follows:

                                             24          Twitch will produce non-privileged, non-protected documents upon which it relies in re-

                                             25   sponding to PersonalWeb’s discovery requests, to the extent such documents exist in Twitch’s

                                             26   possession, custody, or control and can be identified upon a reasonable search.
                                             27          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             28   amend, or modify its response to this request as additional facts are learned and as otherwise

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            25                      CASE NO. 5:18-md-02834-BLF
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                                              1   appropriate.

                                              2   REQUEST FOR PRODUCTION NO. 54:

                                              3          All documents identified, relied upon, or referred to in preparing subpoenas, interrogatories,

                                              4   requests for production, or requests for admission in this litigation.

                                              5   RESPONSE TO REQUEST FOR PRODUCTION NO. 54:

                                              6          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              7   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              8   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              9   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
                                             10   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             11   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             12   applicable order of the Court.
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                                             13          Twitch objects to this request to the extent it seeks information that is subject to any

                                             14   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             15   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             16   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             17   users. Twitch does not intend to provide such information without the consent of the relevant

                                             18   persons or a court order.

                                             19          Twitch objects to this request because on its face it seeks privileged and/or work product
                                             20   material relating to its preparation of discovery.

                                             21          Subject to and without waiving any objections, Twitch responds as follows:

                                             22          Twitch will produce all non-privileged, non-protected documents referred to in any

                                             23   subpoenas, interrogatories, requests for production, or requests for admission it serves in this

                                             24   litigation, or documents that Amazon relied upon in preparing such discovery, to the extent such

                                             25   documents exist in its possession, custody, or control. However, Twitch will not produce privileged

                                             26   and/or work product documents.
                                             27          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             28   amend, or modify its response to this request as additional facts are learned and as otherwise

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO                26                  CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   appropriate.

                                              2   REQUEST FOR PRODUCTION NO. 55:

                                              3          All documents and communications prepared for any meeting between Twitch or its

                                              4   attorneys and investors of Twitch, including Amazon Web Services, Inc., related to any litigation

                                              5   involving the patents-in-suit.

                                              6   RESPONSE TO REQUEST FOR PRODUCTION NO. 55:

                                              7          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             12   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
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                                             13   applicable order of the Court.

                                             14          Twitch objects to this request to the extent it seeks information that is subject to any

                                             15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             18   users. Twitch does not intend to provide such information without the consent of the relevant

                                             19   persons or a court order.
                                             20          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             21   and unintelligible in that it seeks “all documents.”

                                             22          Twitch objects to the request for “communications” related to the subject matter of the re-

                                             23   quest to the extent it purports to include email. Email production is not required in this case absent

                                             24   specific request. (See, e.g., Court’s [Model] Stipulation & Order Re: Discovery of Electronically

                                             25   Stored Information for Patent Litigation (“General ESI production requests . . . shall not include

                                             26   email or other forms of electronic correspondence.”).)
                                             27          Twitch objects to this request as irrelevant and improper. On its face, the request seeks

                                             28   information subject to the attorney-client privilege, common interest, and/or joint defense privilege.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            27                      CASE NO. 5:18-md-02834-BLF
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                                              1   Twitch will not produce such privileged and protected information.

                                              2   REQUEST FOR PRODUCTION NO. 56:

                                              3           Documents sufficient to show the past and present policy or policies of Twitch, if any,

                                              4   related to avoiding the intellectual property rights of third parties, including third party patent rights.

                                              5   RESPONSE TO REQUEST FOR PRODUCTION NO. 56:

                                              6           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              7   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              8   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              9   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
                                             10   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             11   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             12   applicable order of the Court.
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                                             13           Twitch objects to this request to the extent it seeks information that is subject to any

                                             14   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             15   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             16   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             17   users. Twitch does not intend to provide such information without the consent of the relevant

                                             18   persons or a court order.

                                             19           Twitch objects to this request as vague and ambiguous with respect to the phrase “policies
                                             20   . . . for avoiding the intellectual property rights of third parties.”

                                             21           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             22   particular time period and/or geographic area relevant to the case.

                                             23           Subject to and without waiving any objections, Twitch responds as follows:

                                             24           Twitch will produce non-privileged, non-protected documents sufficient to show its policies

                                             25   regarding licensing of intellectual property from third parties, to the extent such documents exist in

                                             26   Twitch’s possession, custody, or control and can be identified upon a reasonable search.
                                             27           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             28   amend, or modify its response to this request as additional facts are learned and as otherwise

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO               28                       CASE NO. 5:18-md-02834-BLF
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                                              1   appropriate.

                                              2   REQUEST FOR PRODUCTION NO. 57:

                                              3          All documents on which you intend to rely to prove any claim or affirmative defense

                                              4   asserted by you in the above-captioned litigation.

                                              5   RESPONSE TO REQUEST FOR PRODUCTION NO. 57:

                                              6          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              7   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              8   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              9   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
                                             10   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             11   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             12   applicable order of the Court.
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                                             13          Twitch objects to this request to the extent it seeks information that is subject to any

                                             14   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             15   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             16   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             17   users. Twitch does not intend to provide such information without the consent of the relevant

                                             18   persons or a court order.

                                             19          Twitch objects to this request to the extent it seeks not facts or contentions in this case, but
                                             20   a legal opinion or legal conclusion.

                                             21          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             22   and unintelligible in that it seeks “all documents.”

                                             23          Subject to and without waiving any objections, Twitch responds as follows:

                                             24          Twitch will produce non-privileged, non-protected documents upon which it will rely at

                                             25   trial in this case, to the extent such documents exist in Twitch’s possession, custody, or control and

                                             26   can be identified upon a reasonable search, at the appropriate time pursuant to the case schedule.
                                             27          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             28   amend, or modify its response to this request as additional facts are learned and as otherwise

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            29                       CASE NO. 5:18-md-02834-BLF
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                                              1   appropriate.

                                              2   REQUEST FOR PRODUCTION NO. 58:

                                              3           All documents regarding Twitch’s investigation into the patents-in-suit and whether

                                              4   Twitch’s accused instrumentality infringes the patents-in-suit, including any studies or analyses,

                                              5   and any opinions of counsel on which Twitch intends to rely.

                                              6   RESPONSE TO REQUEST FOR PRODUCTION NO. 58:

                                              7           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different

                                             12   from, or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law,
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                                             13   or any applicable order of the Court.

                                             14           Twitch objects to this request to the extent it seeks information that is subject to any

                                             15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             18   users. Twitch does not intend to provide such information without the consent of the relevant

                                             19   persons or a court order.
                                             20           Twitch objects to this request to the extent it seeks not facts or contentions in this case, but

                                             21   a legal opinion or legal conclusion.

                                             22           Twitch objects to the term “Twitch” on the basis identified in the General Objections

                                             23   above and incorporates those bases herein. Twitch will interpret “You” as Twitch Interactive, Inc.

                                             24   only.

                                             25           Subject to and without waiving any objections, Twitch responds as follows:

                                             26           Twitch will produce non-privileged, non-protected documents it intends to rely on to prove
                                             27   its claims and defenses, including any opinion of counsel on which it may rely, at the appropriate

                                             28   time pursuant to the case schedule.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             30                       CASE NO. 5:18-md-02834-BLF
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                                              1          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              2   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              3   appropriate.

                                              4   REQUEST FOR PRODUCTION NO. 59:

                                              5          All versions of the Terms of Service or any End User License Agreement which Twitch has

                                              6   used or posted in connection with providing its services.

                                              7   RESPONSE TO REQUEST FOR PRODUCTION NO. 59:

                                              8          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              9   objects to this request to the extent it seeks information protected by the attorney-client privilege,
                                             10   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             11   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             12   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
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                                             13   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             14   applicable order of the Court.

                                             15          Twitch objects to this request to the extent it seeks information that is subject to any

                                             16   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             17   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             18   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             19   users. Twitch does not intend to provide such information without the consent of the relevant
                                             20   persons or a court order.

                                             21          Twitch objects to this request to the extent it seeks information equally available to

                                             22   PersonalWeb in the public domain.

                                             23          Twitch objects to this request as vague, ambiguous, and exceeding the boundaries of

                                             24   discoverable information because it is unclear what “services” this request is referring to. Twitch

                                             25   objects to the extent this seeks discovery on anything not specifically charted in PersonalWeb’s

                                             26   Infringement Contentions.        Twitch will only respond to requests concerning those accused
                                             27   instrumentalities specifically charted in PersonalWeb’s Infringement Contentions.

                                             28          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            31                      CASE NO. 5:18-md-02834-BLF
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                                              1   any claim or defense in this action nor proportional to the needs of the case.

                                              2          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              3   particular time period and/or geographic area relevant to the case.

                                              4          Subject to and without waiving any objections, Twitch responds as follows:

                                              5          Twitch will produce non-privileged, non-protected documents sufficient to show Twitch’s

                                              6   terms of service and end-user license agreements during the time period of September 14, 2012 to

                                              7   December 25, 2016 for the United States, to the extent such documents exist in Twitch’s possession,

                                              8   custody, or control and can be identified upon a reasonable search.

                                              9          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,
                                             10   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             11   appropriate.

                                             12   REQUEST FOR PRODUCTION NO. 60:
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                                             13          All manuals showing the operation of the software of the accused instrumentality.

                                             14   RESPONSE TO REQUEST FOR PRODUCTION NO. 60:

                                             15          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             16   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             17   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             18   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             19   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             20   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             21   applicable order of the Court.

                                             22          Twitch objects to this request to the extent it seeks information that is subject to any

                                             23   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             24   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             25   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             26   users. Twitch does not intend to provide such information without the consent of the relevant
                                             27   persons or a court order.

                                             28          Twitch objects to this request to the extent it seeks information equally available to

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            32                      CASE NO. 5:18-md-02834-BLF
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                                              1   PersonalWeb in the public domain.

                                              2          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              3   particular time period and/or geographic area relevant to the case.

                                              4          Subject to and without waiving any objections, Twitch responds as follows:

                                              5          Twitch will produce non-privileged, non-protected technical manuals and documentation

                                              6   (to the extent Twitch understands this term) relating to the accused features of Twitch.tv, during

                                              7   the time period of September 14, 2012 to December 25, 2016 for the United States, to the extent

                                              8   such documents existed in Twitch’s possession, custody, or control and can be identified upon a

                                              9   reasonable search.
                                             10          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             11   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             12   appropriate.
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                                             13   REQUEST FOR PRODUCTION NO. 61:

                                             14          All software specifications regarding the operation of the software of the accused

                                             15   instrumentality.

                                             16   RESPONSE TO REQUEST FOR PRODUCTION NO. 61:

                                             17          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             18   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             19   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             20   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             21   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             22   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             23   applicable order of the Court.

                                             24          Twitch objects to this request to the extent it seeks information that is subject to any

                                             25   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             26   to any third party. Twitch further objects to this request to the extent that it purports to require
                                             27   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             28   users. Twitch does not intend to provide such information without the consent of the relevant

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            33                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   persons or a court order.

                                              2          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              3   particular time period and/or geographic area relevant to the case.

                                              4          Subject to and without waiving any objections, Twitch responds as follows:

                                              5          Twitch will produce non-privileged, non-protected software specification and technical

                                              6   documents relating to the accused features of Twitch.tv, during the time period of September 14,

                                              7   2012 to December 25, 2016 for the United States, to the extent such documents existed in Twitch’s

                                              8   possession, custody, or control and can be identified upon a reasonable search.

                                              9          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,
                                             10   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             11   appropriate.

                                             12   REQUEST FOR PRODUCTION NO. 62:
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                                             13          All documents exchanged between Twitch, its employees, contractor and representatives or

                                             14   exchanged with third parties regarding the development of the software or hardware of Twitch’s

                                             15   accused instrumentality.

                                             16   RESPONSE TO REQUEST FOR PRODUCTION NO. 62:

                                             17          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             18   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             19   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             20   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             21   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             22   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             23   applicable order of the Court.

                                             24          Twitch objects to this request to the extent it seeks information that is subject to any

                                             25   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             26   to any third party. Twitch further objects to this request to the extent that it purports to require
                                             27   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             28   users. Twitch does not intend to provide such information without the consent of the relevant

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            34                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   persons or a court order.

                                              2          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                              3   any claim or defense in this action nor proportional to the needs of the case.

                                              4          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                              5   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                              6          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              7   particular time period and/or geographic area relevant to the case.

                                              8          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              9   and unintelligible in that it seeks “all documents.”
                                             10          Subject to and without waiving any objections, Twitch responds as follows:

                                             11          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                             12   technical design, operation, and functionality of the accused features of Twitch.tv during the time
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                                             13   period of September 14, 2012 to December 25, 2016 for the United States, to the extent such

                                             14   documents existed in Twitch’s possession, custody, or control and can be identified upon a

                                             15   reasonable search.

                                             16          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             17   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             18   appropriate.

                                             19   REQUEST FOR PRODUCTION NO. 63:
                                             20          All documents regarding the compliance of Twitch’s customers or end users with any Terms

                                             21   of Service or End User License Agreement that Twitch has used or posted in connection with

                                             22   providing its services.

                                             23   RESPONSE TO REQUEST FOR PRODUCTION NO. 63:

                                             24          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             25   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             26   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             27   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             28   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            35                      CASE NO. 5:18-md-02834-BLF
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                                              1   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              2   applicable order of the Court.

                                              3          Twitch objects to this request to the extent it seeks information that is subject to any

                                              4   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              5   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              6   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              7   users. Twitch does not intend to provide such information without the consent of the relevant

                                              8   persons or a court order.

                                              9          Twitch objects to the term “Twitch” on the basis identified in the General Objections above
                                             10   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                             11          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                             12   any claim or defense in this action nor proportional to the needs of the case.
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                                             13          Twitch objects to this request as vague, ambiguous, and exceeding the boundaries of

                                             14   discoverable information because it is unclear what “services” this request is referring to. Twitch

                                             15   objects to the extent this seeks discovery on anything not specifically charted in PersonalWeb’s

                                             16   Infringement Contentions.        Twitch will only respond to requests concerning those accused

                                             17   instrumentalities specifically charted in PersonalWeb’s Infringement Contentions.

                                             18          Twitch objects to this request to the extent it seeks information regarding its customers

                                             19   actions and decisions; such information is either outside of Twitch’s possession, custody, or control
                                             20   or comprises customer information subject to Twitch’s privacy obligations.

                                             21          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             22   particular time period and/or geographic area relevant to the case.

                                             23          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             24   and unintelligible in that it seeks “all documents.”

                                             25          Subject to and without waiving any objections, Twitch responds as follows:

                                             26          Twitch will produce non-privileged, non-protected documents sufficient to show Twitch’s
                                             27   terms of service and end-user license agreements for Twitch.tv during September 14, 2012 to De-

                                             28   cember 25, 2016 for the United States, and documents relating to its customers’ compliance with

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            36                      CASE NO. 5:18-md-02834-BLF
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                                              1   those terms, to the extent such documents exist in Twitch’s possession, custody, or control and can

                                              2   be identified upon a reasonable search.

                                              3          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              4   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              5   appropriate.

                                              6   REQUEST FOR PRODUCTION NO. 64:

                                              7          All documents regarding the benefits of Twitch’s customers or end users complying with

                                              8   the Terms of Service or End User License agreements that Twitch has used or posted in connection

                                              9   with providing its services.
                                             10   RESPONSE TO REQUEST FOR PRODUCTION NO. 64:

                                             11          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             12   objects to this request to the extent it seeks information protected by the attorney-client privilege,
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                                             13   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             14   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             15   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             16   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             17   applicable order of the Court.

                                             18          Twitch objects to this request to the extent it seeks information that is subject to any

                                             19   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed
                                             20   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             21   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             22   users. Twitch does not intend to provide such information without the consent of the relevant

                                             23   persons or a court order.

                                             24          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                             25   any claim or defense in this action nor proportional to the needs of the case.

                                             26          Twitch objects to the term “Twitch” on the basis identified in the General Objections above
                                             27   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                             28          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            37                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   particular time period and/or geographic area relevant to the case.

                                              2          Twitch objects to this request as unreasonably duplicative and/or redundant of Request Nos.

                                              3   59 and 63.

                                              4          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              5   and unintelligible in that it seeks “all documents.”

                                              6          Twitch will produce non-privileged, non-protected documents regarding the purported ben-

                                              7   efits to Twitch of its customers complying with its terms of use and end-user licenses for Twitch.tv

                                              8   during September 14, 2012 to December 25, 2016 in the United States, to the extent such documents

                                              9   exist in its possession, custody or control and can be located upon a reasonable search.
                                             10          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             11   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             12   appropriate.
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                                             13   REQUEST FOR PRODUCTION NO. 65:

                                             14          All documents regarding the manner in which the accused instrumentality interfaces with

                                             15   Amazon’s S3 System.

                                             16   RESPONSE TO REQUEST FOR PRODUCTION NO. 65:

                                             17          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             18   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             19   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             20   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             21   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             22   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             23   applicable order of the Court.

                                             24          Twitch objects to this request to the extent it seeks information that is subject to any

                                             25   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             26   to any third party. Twitch further objects to this request to the extent that it purports to require
                                             27   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             28   users. Twitch does not intend to provide such information without the consent of the relevant

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            38                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   persons or a court order.

                                              2          Twitch objects to this request to the extent it seeks discovery on Amazon S3. PersonalWeb

                                              3   is barred from asserting any claim of infringement in any case based on the use or operation of

                                              4   Amazon S3. (See 5:18-md-02834 Dkt. 381.) To the extent Twitch provides discovery on S3, it

                                              5   does so explicitly without waiver of this objection.

                                              6          Twitch objects to the term “interfaces” as vague and ambiguous, overly broad, unduly

                                              7   burdensome, and not proportional to the needs of the case, as they do not identify the items or

                                              8   features with specificity.

                                              9          Twitch objects to this request as overbroad and irrelevant because it is not limited to a
                                             10   particular time period and/or geographic area relevant to the case.

                                             11          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             12   and unintelligible in that it seeks “all documents.”
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                                             13          Subject to and without waiving any objections, Twitch responds as follows:

                                             14          Twitch will produce non-privileged, non-protected documents sufficient to show the

                                             15   technical design, operation, and functionality of the accused features of Twitch.tv during the time

                                             16   period of September 14, 2012 to December 25, 2016 for the United States, to the extent such

                                             17   documents existed in Twitch’s possession, custody, or control and can be identified upon a

                                             18   reasonable search.

                                             19          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,
                                             20   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             21   appropriate.

                                             22   REQUEST FOR PRODUCTION NO. 66:

                                             23          All documents regarding the manner in which the accused instrumentality interfaces with

                                             24   the CloudFront System.

                                             25   RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

                                             26          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch
                                             27   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             28   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            39                      CASE NO. 5:18-md-02834-BLF
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                                              1   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              2   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              3   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              4   applicable order of the Court.

                                              5           Twitch objects to this request to the extent it seeks information that is subject to any

                                              6   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              7   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              8   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              9   users. Twitch does not intend to provide such information without the consent of the relevant
                                             10   persons or a court order.

                                             11           Twitch objects to the term “interfaces” as vague and ambiguous, overly broad, unduly

                                             12   burdensome, and not proportional to the needs of the case, as they do not identify the items or
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                                             13   features with specificity.

                                             14           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             15   particular time period and/or geographic area relevant to the case.

                                             16           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             17   and unintelligible in that it seeks “all documents.”

                                             18           Amazon Web Services, Inc. is a separate company with a separate set of accused

                                             19   technologies. Any requests for information relating to CloudFront should be made to Amazon Web
                                             20   Services, Inc. itself.

                                             21           Subject to and without waiving any objections, Twitch responds as follows:

                                             22           Twitch did not use CloudFront during the relevant time period of September 14, 2012 to

                                             23   December 25, 2016. Accordingly, Twitch will not search for documents responsive to this request.

                                             24   REQUEST FOR PRODUCTION NO. 67:

                                             25           All versions of source code reflecting the design and development of the source code used

                                             26   for the accused instrumentality.
                                             27   RESPONSE TO REQUEST FOR PRODUCTION NO. 67:

                                             28           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            40                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              2   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              3   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              4   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              5   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              6   applicable order of the Court.

                                              7          Twitch objects to this request to the extent it seeks information that is subject to any

                                              8   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              9   to any third party. Twitch further objects to this request to the extent that it purports to require
                                             10   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             11   users. Twitch does not intend to provide such information without the consent of the relevant

                                             12   persons or a court order.
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                                             13          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             14   particular time period and/or geographic area relevant to the case.

                                             15          Subject to and without waiving any objections, Twitch responds as follows:

                                             16          Twitch has already made available for inspection, pursuant to the terms of the protective

                                             17   order, source code reflecting the operation of the accused Twitch.tv website available in the United

                                             18   States, including the revisions to that code that existed between September 14, 2012 through

                                             19   December 25, 2016.
                                             20          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             21   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             22   appropriate.

                                             23   REQUEST FOR PRODUCTION NO. 68:

                                             24          All versions of source code reflecting the source code used by Twitch to provide the accused

                                             25   instrumentality to its customers or end users.

                                             26   RESPONSE TO REQUEST FOR PRODUCTION NO. 68:
                                             27          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             28   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            41                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              2   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              3   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              4   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              5   applicable order of the Court.

                                              6          Twitch objects to this request to the extent it seeks information that is subject to any

                                              7   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              8   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              9   Twitch to disclose private or personally-identifiable information of its employees, customers, or
                                             10   users. Twitch does not intend to provide such information without the consent of the relevant

                                             11   persons or a court order.

                                             12          Twitch objects to the term “Twitch” on the basis identified in the General Objections above
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                                                  and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.
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                                             13

                                             14          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             15   particular time period and/or geographic area relevant to the case.

                                             16          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                             17   including but not limited to Requests for Production No. 67.

                                             18          Subject to and without waiving any objections, Twitch responds as follows:

                                             19          Twitch has already made available for inspection, pursuant to the terms of the protective
                                             20   order, source code reflecting the operation of the accused Twitch.tv website available in the United

                                             21   States, including the revisions to that code that existed between September 14, 2012 through

                                             22   December 25, 2016.

                                             23          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             24   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             25   appropriate.

                                             26   REQUEST FOR PRODUCTION NO. 69:
                                             27          All documents regarding the locations of any content delivery servers used by Twitch or

                                             28   Amazon in connection with Twitch providing the accused instrumentality to its customers or end

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            42                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   users.

                                              2   RESPONSE TO REQUEST FOR PRODUCTION NO. 69:

                                              3            Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              4   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              5   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              6   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              7   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              8   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              9   applicable order of the Court.
                                             10            Twitch objects to this request to the extent it seeks information that is subject to any

                                             11   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             12   to any third party. Twitch further objects to this request to the extent that it purports to require
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                                             13   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             14   users. Twitch does not intend to provide such information without the consent of the relevant

                                             15   persons or a court order.

                                             16            Twitch objects to this request to the extent it seeks information that is neither relevant to

                                             17   any claim or defense in this action nor proportional to the needs of the case.

                                             18            Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                             19   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.
                                             20            Twitch objects to the term “Amazon” as vague and ambiguous, overly broad, unduly

                                             21   burdensome, and not proportional to the needs of the case, as they do not identify the items or

                                             22   features with specificity. Twitch will interpret this term to mean Amazon.com, Inc. and Amazon

                                             23   Web Services, Inc.

                                             24            Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             25   and unintelligible in that it seeks “all documents.”

                                             26            Twitch objects to this request because it is grossly overbroad and is not relevant to any issue
                                             27   in this case. For example, the request on its face seeks information relating to the location of any

                                             28   servers that Twitch relies on in connection with content delivery network services, even if those

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              43                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                     CASE NO. 5:18-cv-05619-BLF
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                                              1   servers are not directly related to provision of the specific Twitch.tv services and features accused

                                              2   in this litigation. Twitch’s use of content delivery networks, without specific limitations to

                                              3   Twitch.tv, is not relevant to this case.

                                              4   REQUEST FOR PRODUCTION NO. 70:

                                              5           All documents regarding any change in the functionality of the accused instrumentality and

                                              6   the manner in which it operates.

                                              7   RESPONSE TO REQUEST FOR PRODUCTION NO. 70:

                                              8           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              9   objects to this request to the extent it seeks information protected by the attorney-client privilege,
                                             10   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             11   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             12   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
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                                             13   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             14   applicable order of the Court.

                                             15           Twitch objects to this request to the extent it seeks information that is subject to any

                                             16   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             17   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             18   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             19   users. Twitch does not intend to provide such information without the consent of the relevant
                                             20   persons or a court order.

                                             21           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             22   particular time period and/or geographic area relevant to the case.

                                             23           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             24   and unintelligible in that it seeks “all documents.”

                                             25           Subject to and without waiving any objections, Twitch responds as follows:

                                             26           Twitch has already made available for inspection, pursuant to the terms of the protective
                                             27   order, source code reflecting the operation of the accused Twitch.tv website in the United States,

                                             28   including the revisions to that code that existed between September 14, 2012 through December

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            44                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   25, 2016.

                                              2          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              3   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              4   appropriate.

                                              5   REQUEST FOR PRODUCTION NO. 71:

                                              6          All documents regarding Twitch’s acquisition by Amazon Web Services, Inc.

                                              7   RESPONSE TO REQUEST FOR PRODUCTION NO. 71:

                                              8          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              9   objects to this request to the extent it seeks information protected by the attorney-client privilege,
                                             10   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             11   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             12   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
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                                             13   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             14   applicable order of the Court.

                                             15          Twitch objects to this request to the extent it seeks information that is subject to any

                                             16   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             17   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             18   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             19   users. Twitch does not intend to provide such information without the consent of the relevant
                                             20   persons or a court order.

                                             21          Twitch objects to this request to the extent it seeks information equally available to

                                             22   PersonalWeb in the public domain.

                                             23          Twitch objects to this request as it seeks information that is neither relevant to any claim or

                                             24   defense in this action nor proportional to the needs of the case. Twitch’s acquisition by Amazon

                                             25   Web Services, Inc., a separate company, is not relevant to any issue in the case against Twitch. Any

                                             26   documents showing the revenue generated by Amazon cannot be used as a basis for any damages
                                             27   calculations for claims against Twitch.

                                             28          Twitch further objects to this request as seeking information that is neither relevant to any

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            45                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   claim or defense because it is not limited to any accused technology in this case.

                                              2          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                              3   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                              4          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              5   and unintelligible in that it seeks “all documents.” For example, on its face this request seeks every

                                              6   single document relating in any way to Amazon Web Services, Inc.’s acquisition of Twitch. Such

                                              7   documents have no connection to the value of the accused technology in this case or to the

                                              8   hypothetical negotiation between Twitch and PersonalWeb; they are irrelevant and not proportional

                                              9   to the needs of the case.
                                             10   REQUEST FOR PRODUCTION NO. 72:

                                             11          All documents regarding the investments and improvements in the accused instrumentality,

                                             12   including investments and improvements made to the infrastructure, software or hardware of
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                                                  Twitch’s accused instrumentality.
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                                             13

                                             14   RESPONSE TO REQUEST FOR PRODUCTION NO. 72:

                                             15          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             16   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             17   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             18   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             19   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             20   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             21   applicable order of the Court.

                                             22          Twitch objects to this request to the extent it seeks information that is subject to any

                                             23   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             24   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             25   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             26   users. Twitch does not intend to provide such information without the consent of the relevant
                                             27   persons or a court order.

                                             28          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            46                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                              2           Twitch objects to the terms “investments” and “improvements” as vague and ambiguous,

                                              3   overly broad, unduly burdensome, and not proportional to the needs of the case, as they do not

                                              4   identify the items or features with specificity.

                                              5           Twitch further objects to this request as vague and ambiguous, overly broad, and not

                                              6   proportional to the needs of the case because not every change to Twitch.tv is relevant to the issues

                                              7   in the litigation.

                                              8           Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              9   particular time period and/or geographic area relevant to the case.
                                             10           Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             11   and unintelligible in that it seeks “all documents.”

                                             12           Subject to and without waiving any objections, Twitch responds as follows:
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                                             13           Twitch has already made available for inspection, pursuant to the terms of the protective

                                             14   order, source code reflecting the operation of the accused Twitch.tv website in the United States,

                                             15   including the revisions to that code that existed between September 14, 2012 through December

                                             16   25, 2016, to the extent such documents exist in Twitch’s possession, custody, or control and can be

                                             17   identified upon a reasonable search.

                                             18           Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             19   amend, or modify its response to this request as additional facts are learned and as otherwise
                                             20   appropriate.

                                             21   REQUEST FOR PRODUCTION NO. 73:

                                             22           All documents regarding Twitch’s forecasts and plans regarding the sales and commercial

                                             23   success of Twitch, including the investments and improvements Twitch plans to perform to the

                                             24   infrastructure, software or hardware of the accused instrumentality.

                                             25   RESPONSE TO REQUEST FOR PRODUCTION NO. 73:

                                             26           Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch
                                             27   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             28   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              47                    CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              2   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              3   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              4   applicable order of the Court.

                                              5          Twitch objects to this request to the extent it seeks information that is subject to any

                                              6   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              7   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              8   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              9   users. Twitch does not intend to provide such information without the consent of the relevant
                                             10   persons or a court order.

                                             11          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                             12   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.
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                                             13          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             14   and unintelligible. For example, Twitch objects to the undefined phrases “Twitch’s forecasts and

                                             15   plans regarding the sales and commercial success of Twitch,” and “investments and improvements

                                             16   Twitch plans to perform to the infrastructure, software or hardware” as vague and ambiguous,

                                             17   overly broad, unduly burdensome, and not proportional to the needs of the case, as they do not

                                             18   identify the items or features with specificity.

                                             19          Twitch further objects to this request because projected sales related to the accused
                                             20   instrumentality are not relevant to any issue in the case as the asserted patents have expired.

                                             21          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             22   and unintelligible in that it seeks “all documents.”

                                             23          Subject to and without waiving any objections, Twitch responds as follows:

                                             24          Twitch has already produced non-privileged, non-protected documents sufficient to show

                                             25   revenue information from the www.twitch.tv website during the time period of September 14, 2012

                                             26   to December 25, 2016 for the United States, to the extent such documents exist in Twitch’s
                                             27   possession, custody, or control and can be identified upon a reasonable search.

                                             28          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              48                    CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              2   appropriate.

                                              3   REQUEST FOR PRODUCTION NO. 74:

                                              4          All documents regarding the timeframe for when Twitch plans to be profitable, including

                                              5   estimated forecasts or plans for profitability.

                                              6   RESPONSE TO REQUEST FOR PRODUCTION NO. 74:

                                              7          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             12   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
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                                             13   applicable order of the Court.

                                             14          Twitch objects to this request to the extent it seeks information that is subject to any

                                             15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             18   users. Twitch does not intend to provide such information without the consent of the relevant

                                             19   persons or a court order.
                                             20          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                             21   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                             22          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             23   and unintelligible. For example, Twitch objects to the undefined phrases “timeframe for when

                                             24   Twitch plans to be profitable” and “estimated forecasts or plans for profitability” as vague and

                                             25   ambiguous, overly broad, unduly burdensome, and not proportional to the needs of the case, as they

                                             26   do not identify the items or features with specificity.
                                             27          Twitch further objects to this request because projected revenues related to the accused

                                             28   instrumentality are not relevant to any issue in the case as the asserted patents have expired.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             49                     CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                              2   and unintelligible in that it seeks “all documents.”

                                              3   REQUEST FOR PRODUCTION NO. 75:

                                              4          All documents regarding any freedom to operate analysis or competitive analysis for the

                                              5   accused instrumentality.

                                              6   RESPONSE TO REQUEST FOR PRODUCTION NO. 75:

                                              7          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             12   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
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                                             13   applicable order of the Court.

                                             14          Twitch objects to this request to the extent it seeks information that is subject to any

                                             15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             18   users. Twitch does not intend to provide such information without the consent of the relevant

                                             19   persons or a court order.
                                             20          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                             21   any claim or defense in this action nor proportional to the needs of the case.

                                             22          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             23   and unintelligible in that it seeks “all documents.”

                                             24          Subject to and without waiving any objections, Twitch responds as follows:

                                             25          Twitch has already produced non-privileged, non-protected documents sufficient to show

                                             26   what if any technical features impacted the market position of the Twitch.tv website in the United
                                             27   States during the time period of September 14, 2012 to December 25, 2016.

                                             28          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            50                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              2   appropriate.

                                              3   REQUEST FOR PRODUCTION NO. 76:

                                              4          All documents regarding the accuracy of the content provided by the accused

                                              5   instrumentality in response to customer or end user requests for content.

                                              6   RESPONSE TO REQUEST FOR PRODUCTION NO. 76:

                                              7          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              8   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              9   attorney work-product doctrine, joint defense privilege, common interest exception, duty of
                                             10   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             11   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             12   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any
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                                             13   applicable order of the Court.

                                             14          Twitch objects to this request to the extent it seeks information that is subject to any

                                             15   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             16   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             17   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             18   users. Twitch does not intend to provide such information without the consent of the relevant

                                             19   persons or a court order.
                                             20          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                             21   any claim or defense in this action nor proportional to the needs of the case.

                                             22          Twitch objects to the undefined term “accuracy of the content” as vague and ambiguous,

                                             23   not relevant to any claim or defense, overly broad, unduly burdensome, and not proportional to the

                                             24   needs of the case, as it does not identify the item with specificity.

                                             25          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             26   particular time period and/or geographic area relevant to the case.
                                             27          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             28   and unintelligible in that it seeks “all documents.”

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             51                     CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1   REQUEST FOR PRODUCTION NO. 77:

                                              2          All documents regarding the latency of the content provided by the accused instrumentality

                                              3   in response to customer or end user requests for content.

                                              4   RESPONSE TO REQUEST FOR PRODUCTION NO. 77:

                                              5          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              6   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              7   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              8   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              9   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             10   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             11   applicable order of the Court.

                                             12          Twitch objects to this request to the extent it seeks information that is subject to any
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                                             13   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             14   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             15   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             16   users. Twitch does not intend to provide such information without the consent of the relevant

                                             17   persons or a court order.

                                             18          Twitch objects to the undefined term “latency of the content” as vague and ambiguous, not

                                             19   relevant to any claim or defense, overly broad, unduly burdensome, and not proportional to the
                                             20   needs of the case, as it does not identify the item with specificity.

                                             21          Twitch objects to this request to the extent it seeks information that is neither relevant to

                                             22   any claim or defense in this action nor proportional to the needs of the case.

                                             23            Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             24   and unintelligible in that it seeks “all documents.”

                                             25          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                             26   including but not limited to Requests for Production Nos. 12-14 and 17.
                                             27          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             28   particular time period and/or geographic area relevant to the case.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             52                     CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                   CASE NO. 5:18-cv-05619-BLF
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                                              1          Subject to and without waiving any objections, Twitch responds as follows:

                                              2          Twitch is not aware of any further responsive, non-privileged and non-protected documents

                                              3   that are not redundant of Request Nos. 12-14 and 17.

                                              4          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              5   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              6   appropriate.

                                              7   REQUEST FOR PRODUCTION NO. 78:

                                              8          All documents regarding any cache busting or cache control feature provided by the accused

                                              9   instrumentality.
                                             10   RESPONSE TO REQUEST FOR PRODUCTION NO. 78:

                                             11          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             12   objects to this request to the extent it seeks information protected by the attorney-client privilege,
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                                             13   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             14   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             15   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             16   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             17   applicable order of the Court.

                                             18          Twitch objects to this request to the extent it seeks information that is subject to any

                                             19   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed
                                             20   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             21   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             22   users. Twitch does not intend to provide such information without the consent of the relevant

                                             23   persons or a court order.

                                             24          Twitch objects to the undefined terms “cache busting” and “cache control” as vague and

                                             25   ambiguous, not relevant to any claim or defense, overly broad, unduly burdensome, and not

                                             26   proportional to the needs of the case, as it does not identify the item with specificity.
                                             27            Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             28   and unintelligible in that it seeks “all documents.”

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO             53                      CASE NO. 5:18-md-02834-BLF
                                                   SECOND SET OF REQUESTS FOR PRODUCTION                                    CASE NO. 5:18-cv-05619-BLF
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                                              1          Twitch objects to this request to the extent it is duplicative of other discovery requests,

                                              2   including but not limited to Requests for Production Nos. 9, 14, 17-18.

                                              3          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              4   particular time period and/or geographic area relevant to the case.

                                              5          Subject to and without waiving any objections, Twitch responds as follows:

                                              6          Twitch will produce algorithm and that renders the name of a file dependent on the contents

                                              7   of the file or ETags calculated based on contents of a corresponding file for Twitch.tv during the

                                              8   time period of September 14, 2012 to December 25, 2016 for the United States, to the extent such

                                              9   documents exist in Twitch’s possession, custody, or control and can be identified upon a reasonable
                                             10   search, and has not already been produced in response to prior requests.

                                             11          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             12   amend, or modify its response to this request as additional facts are learned and as otherwise
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                                             13   appropriate.

                                             14   REQUEST FOR PRODUCTION NO. 79:

                                             15          All documents regarding whether the use of ETags assisted with customer or end user

                                             16   compliance with any Terms of Service or End User License Agreement used or posted by Twitch.

                                             17   RESPONSE TO REQUEST FOR PRODUCTION NO. 79:

                                             18          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             19   objects to this request to the extent it seeks information protected by the attorney-client privilege,
                                             20   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             21   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                             22   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             23   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             24   applicable order of the Court.

                                             25          Twitch objects to this request to the extent it seeks information that is subject to any

                                             26   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed
                                             27   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             28   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            54                       CASE NO. 5:18-md-02834-BLF
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                                              1   users. Twitch does not intend to provide such information without the consent of the relevant

                                              2   persons or a court order.

                                              3          Twitch objects to the undefined terms “ETags”” as vague and ambiguous, not relevant to

                                              4   any claim or defense, overly broad, unduly burdensome, and not proportional to the needs of the

                                              5   case, as it does not identify the item with specificity. Twitch will interpret this term as ETags

                                              6   calculated based on contents of a corresponding file.

                                              7          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                              8   particular time period and/or geographic area relevant to the case.

                                              9            Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,
                                             10   and unintelligible in that it seeks “all documents.”

                                             11          Subject to and without waiving any objections, Twitch responds as follows:

                                             12          Twitch will produce non-privileged and non-protected documents sufficient to show
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                                                  whether the use of ETags has any impact on compliance with Twitch’s terms of service or end-user
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                                             13

                                             14   license agreements for Twitch.tv in the United States between during September 14, 2012 through

                                             15   December 25, 2016, to the extent such documents exist in its possession, custody, or control.

                                             16          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             17   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             18   appropriate.

                                             19   REQUEST FOR PRODUCTION NO. 80:
                                             20          All documents regarding whether the use of fingerprints assisted with customer or end user

                                             21   compliance with any Terms of Service or End User License Agreement used or posted by Twitch.

                                             22   RESPONSE TO REQUEST FOR PRODUCTION NO. 80:

                                             23          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                             24   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                             25   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                             26   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects
                                             27   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                             28   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            55                      CASE NO. 5:18-md-02834-BLF
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                                              1   applicable order of the Court.

                                              2          Twitch objects to this request to the extent it seeks information that is subject to any

                                              3   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                              4   to any third party. Twitch further objects to this request to the extent that it purports to require

                                              5   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                              6   users. Twitch does not intend to provide such information without the consent of the relevant

                                              7   persons or a court order.

                                              8          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                              9   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.
                                             10          Twitch objects to the undefined terms “fingerprints”” as vague and ambiguous, not relevant

                                             11   to any claim or defense, overly broad, unduly burdensome, and not proportional to the needs of the

                                             12   case, as it does not identify the item with specificity. Twitch will interpret this term as a Ruby on
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                                             13   Rails fingerprint or a similar value that is calculated via a hash algorithm and that renders the name

                                             14   of a file dependent on the contents of the file.

                                             15          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             16   particular time period and/or geographic area relevant to the case.

                                             17          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             18   and unintelligible in that it seeks “all documents.”

                                             19          Subject to and without waiving any objections, Twitch responds as follows:
                                             20          Twitch will produce non-privileged, non-protected documents sufficient to show the impact

                                             21   of using a Ruby on Rails fingerprint or a similar value that is calculated via a hash algorithm and

                                             22   that renders the name of a file dependent on the contents of the file or ETags calculated based on

                                             23   contents of a corresponding file on end users’ compliance with Twitch’s terms of service on

                                             24   Twitch.tv, in the United States during September 14, 2012 through December 25, 2016, to the

                                             25   extent such documents exist in its possession, custody or control.

                                             26          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,
                                             27   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             28   appropriate.

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO              56                    CASE NO. 5:18-md-02834-BLF
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                                              1   REQUEST FOR PRODUCTION NO. 81:

                                              2          All documents you intend to introduce at trial in the above-captioned litigation or in any

                                              3   related proceeding.

                                              4   RESPONSE TO REQUEST FOR PRODUCTION NO. 81:

                                              5          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              6   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              7   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              8   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              9   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,
                                             10   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                             11   applicable order of the Court.

                                             12          Twitch objects to this request to the extent it seeks information that is subject to any
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                                             13   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             14   to any third party. Twitch further objects to this request to the extent that it purports to require

                                             15   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             16   users. Twitch does not intend to provide such information without the consent of the relevant

                                             17   persons or a court order.

                                             18          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             19   and unintelligible in that it seeks “all documents.”
                                             20          Subject to and without waiving any objections, Twitch responds as follows:

                                             21          Twitch will produce non-privileged, non-protected documents responsive to this request, to

                                             22   the extent such documents exist in Twitch’s possession, custody, or control and can be identified

                                             23   upon a reasonable search, at the appropriate time pursuant to the case schedule.

                                             24          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                             25   amend, or modify its response to this request as additional facts are learned and as otherwise

                                             26   appropriate.
                                             27   REQUEST FOR PRODUCTION NO. 82:

                                             28          Documents sufficient to identify the name, title, and relationship of current officers,

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                                              1   directors, and management at Twitch.

                                              2   RESPONSE TO REQUEST FOR PRODUCTION NO. 82:

                                              3          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              4   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              5   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              6   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              7   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              8   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              9   applicable order of the Court.
                                             10          Twitch objects to this request to the extent it seeks information that is subject to any

                                             11   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             12   to any third party. Twitch further objects to this request to the extent that it purports to require
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                                             13   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             14   users. Twitch does not intend to provide such information without the consent of the relevant

                                             15   persons or a court order.

                                             16          Twitch objects to the term “Twitch” on the basis identified in the General Objections above

                                             17   and incorporates those bases herein. Twitch will interpret “Twitch” as Twitch Interactive, Inc. only.

                                             18          Twitch objects to this request as overbroad and irrelevant because it is not limited to a

                                             19   particular time period and/or geographic area relevant to the case.
                                             20          Twitch objects to this request because it seeks information that is neither relevant to any

                                             21   claim or defense in this action nor proportional to the needs of the case. Indeed, Twitch has

                                             22   identified in its initial disclosures and any amendments thereto the witnesses on whom it will rely

                                             23   at trial and those people in possession of information relevant to the claims and defenses in this

                                             24   case. No other information called for by this request is relevant to the issues in this case or

                                             25   proportional to the needs of the case.

                                             26   REQUEST FOR PRODUCTION NO. 83:
                                             27          To the extent not produced in response to the foregoing requests for production, all

                                             28   documents and things that demonstrate, evidence, establish, or refute the allegations in Twitch’s

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            58                      CASE NO. 5:18-md-02834-BLF
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                                              1   answer and counterclaims in this action.

                                              2   RESPONSE TO REQUEST FOR PRODUCTION NO. 83:

                                              3          Twitch incorporates by reference its General Objections as if fully set forth herein. Twitch

                                              4   objects to this request to the extent it seeks information protected by the attorney-client privilege,

                                              5   attorney work-product doctrine, joint defense privilege, common interest exception, duty of

                                              6   confidentiality, or any other applicable privilege, immunity, doctrine or protection. Twitch objects

                                              7   to this request to the extent it seeks to impose upon Twitch obligations broader than, different from,

                                              8   or in addition to those obligations imposed by the Federal Rules, the Local Rules, case law, or any

                                              9   applicable order of the Court.
                                             10          Twitch objects to this request to the extent it seeks information that is subject to any

                                             11   protective order, privacy interest, contractual obligation, or other confidentiality obligation owed

                                             12   to any third party. Twitch further objects to this request to the extent that it purports to require
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                                             13   Twitch to disclose private or personally-identifiable information of its employees, customers, or

                                             14   users. Twitch does not intend to provide such information without the consent of the relevant

                                             15   persons or a court order.

                                             16          Twitch objects to this request to the extent it seeks not facts or contentions in this case, but

                                             17   a legal opinion or legal conclusion.

                                             18          Twitch objects to this request as vague and ambiguous, overly broad, unduly burdensome,

                                             19   and unintelligible in that it seeks “all documents.”
                                             20          Subject to and without waiving any objections, Twitch responds as follows:

                                             21          Twitch will produce non-privileged, non-protected documents which it will rely at trial to

                                             22   support its non-infringement claims and defenses. Twitch further responds that it will produced

                                             23   non-privileged, non-protected documents sufficient to show the technical design, operation, and

                                             24   functionality of the accused features of Twitch’s use of content-based ETags to serve assets on

                                             25   Twitch.tv, and how the Twitch.tv website used a Ruby on Rails fingerprint or a similar value that

                                             26   is calculated via a hash algorithm and that renders the name of a file dependent on the contents of
                                             27   the file in HTTP requests during the time period of September 14, 2012 to December 25, 2016 for

                                             28   the United States, to the extent such documents existed in Twitch possession, custody, or control

                                                   TWITCH’S RESPONSES AND OBJECTIONS TO            59                       CASE NO. 5:18-md-02834-BLF
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                                              1   and can be identified upon a reasonable search, and have not already been produced in response to

                                              2   prior requests.

                                              3          Investigation and discovery are ongoing, and Twitch reserves the right to supplement,

                                              4   amend, or modify its response to this request as additional facts are learned and as otherwise

                                              5   appropriate.

                                              6

                                              7                                               Respectfully submitted,
                                              8   Dated: July 15, 2019                        FENWICK & WEST LLP

                                              9
                                             10                                               By: /s/ Todd R. Gregorian
                                                                                                  Todd R. Gregorian
                                             11
                                                                                                  Counsel for
                                             12                                                   TWITCH INTERACTIVE, INC.
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                                                   TWITCH’S RESPONSES AND OBJECTIONS TO          60                     CASE NO. 5:18-md-02834-BLF
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                                              1                                   CERTIFICATE OF SERVICE

                                              2         I hereby certify that on this 15th day of July, a true and correct copy of the foregoing
                                              3   document was served on each party through their counsel of record via email.

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                                                                                                 /s/ Chieh Tung
                                             19                                                  Chieh Tung

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